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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA


                                  CIVIL MINUTES - GENERAL
    Case No.      SACV 11-00485 AG (RAOx)                                 Date   October 5, 2018
    Title         LISA M. OSTELLA v. ORLY TAITZ




    Present: The Honorable       ANDREW J. GUILFORD
              Lisa Bredahl                             Not Present
              Deputy Clerk                      Court Reporter / Recorder               Tape No.
            Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


    Proceedings:       [IN CHAMBERS] ORDER RE MOTIONS FOR SUMMARY
                       JUDGMENT

   This case stems from a professional relationship gone very, very bad. Plaintiff Lisa Ostella
   used to volunteer for Defendant Orly Taitz as a web developer. Eventually, their relationship
   soured, with Taitz accusing Ostella of stealing online donations and “locking” Taitz out of
   various web sites that Ostella had been developing for Taitz. From the beginning, this
   dispute has rarely been about substance, and instead involves two parties airing their personal
   grievances with one another through online postings, complaints to law enforcement, and
   extended civil proceedings in multiple courts. Things got so out of hand the Court was
   forced to impose a prefiling restriction on the parties. (See Dkt. No. 227.) After years of
   litigation, both parties agreed that this case should be resolved by the Court through
   summary judgment. Since in this convoluted and unreasonably contentious case both sides
   ask the Court to decide this without trial, the Court will do so. Thus, the Court vacated the
   previously set trial and set a briefing schedule.

   In total, the parties filed six briefs and thousands of pages of documents. Even after all this
   the Court is still not sure what exactly happened between Ostella and Taitz. The truth seems
   to be buried in their confusing arguments and mountains of exhibits, or (more likely) not
   effectively presented in this case. See Carmen v. S.F. Unified Sch. Dist., 237 F.3d 1026, 1029
   (9th Cir. 2001) (“[A] district court is not required to comb the record to find some reason to
   deny a motion for summary judgment.”); see also Corley v. Rosewood Care Ctr., Inc., 388 F.3d
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   990, 1001 (7th Cir. 2004) (internal citations and quotation marks omitted) (“Judges are not
   like pigs, hunting for truffles buried in the record.”). Despite the parties’ difficulty pursing
   this matter effectively, the Court issues this order to, as much as now possible under the law
   and circumstances, do justice.

   Plaintiff Lisa Ostella contends that she’s entitled to summary judgment on all her claims,
   asking the Court to award her over $15,000,000, among other things. (Dkt. No. 818.)
   Defendant Orly Taitz also contends that she’s entitled to summary judgment on Ostella’s
   claims. (Dkt. No. 826.) Like so many poorly presented cases, the outcome of this case is
   dictated by the burden of proof. Because Ostella has failed to present sufficient evidence to
   carry her burden on any of her claims, the Court DENIES Ostella’s motion for summary
   judgment. (Dkt. No. 818.) For the same reason, the Court GRANTS Taitz’s motion for
   summary judgment. (Dkt. No. 826.)

   1. BACKGROUND

   At bottom, this case is about 11 statements by Taitz, which were all posted on Taitz’s blog.
   Here is a brief summary of the statements:

            1. April 17, 2009: In an email (which was later posted on Taitz’s website)
            titled “Dossier #6” sent to various people, Taitz wrote that the email
            address in her blog’s “pay-pal was changed, which prevented [her] from
            raising funds.” (Dkt. No. 819-12.) Taitz explained that, “When [she] found
            a new web master to host [her] foundation, Ms. Ostella instead of
            transferring the access codes and the domain, has locked me and another
            volunteer moderator out of the blog.” (Id.) Taitz wrote that she “started
            receiving statements and copies of pay-pal receipts, showing instead of my-
            email address, an e-mail address of Lisa Ostella.” (Id.) Taitz wrote that she
            originally “thought that maybe her address showed on the receipt, since
            she was a web master on the account, however, when I checked the names
            and dates on the receipts against the names on the roster, that I
            downloaded earlier, I could see that those were not received by the
            foundation, those donations were missing.” (Id.)
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            2. April 18, 2009: In a post titled “Follow up on Lisa Liberi, paralegal to
            Phil Berg,” Taitz wrote “I saw that Lisa Ostella has redirected the Defend
            Our Freedoms blog and redirected the pay pal.” (Dkt. No. 819-2.)

            3. April 18, 2009: In a post titled “Don’t be fooled,” Taitz wrote, “My
            former web master Lisa Ostella has created an account that she called
            Defend Our Freedoms Network and is soliciting donations, praying on
            unsuspecting readers that would not notice the difference between Defend
            Our Freedoms Foundation and Defend Our Freedoms Community. Please
            notice, your donations there will not go to the foundation, they will go to
            her personal bank account, connected to her personal email address
            GoExcellGlobal.” (Dkt. No. 819-3.)

            4. April 19, 2009: In a post titled “Every day I get such evidence of missing
            or misdirected funds,” Ostella wrote, “Every day I get such receipts,
            showing that my former web master Lisa Ostella . . . has redirected
            donations to herself, to her e-mail address. Currently, as this was
            uncovered, she created new web sites Defend our freedoms .org, .net and
            continues the scheme by making those sites similar to my old ones and
            using the foundation name to steal more donations.” (Dkt. No. 819-4.)
            Attached to the post is what appears to be an email receipt from one of
            Taitz’s follower that shows he made a $25 donation through PayPal to
            “Defend Our Freedoms (lisaostella@hotmail.com).” (Id.)

            5. In April 20, 2009: In a post titled “About Lisa Ostella-don’t patronage
            diverting funds from a nonprofit, don’t be part of slander,” Taitz posted
            what appears to be an email that says, among other things, “As I found a
            new web master, Ms. Ostella, who had the access codes as a web master,
            instead of transferring all the domains, has locked me and other volunteers
            out of the blog and transferred the account to herself, and is using the
            name of my foundation fraudulently, without my consent. She is using the
            pay-pal account that says Defend Our Freedoms and my personal e-mail
            address fraudulently and she posted numerous outrageous slanderous
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            statements about me while pocketing the donations, that the unsuspecting
            donors are giving, believing that they are donating to me, to support my
            efforts in investigating Obama and all the illegal activities, perpetrated by
            him and his supporters, including forgery, multiple social security numbers,
            perjury and possible fraudulent financial transactions.” (Dkt. No. 819-5.)

            6. April 21, 2009: In a post titled “Update on Lisa Ostella and Lisa Liberi,”
            Taitz wrote that her readers should “demand a refund” for any donations
            made to Defend Our Freedoms and “report it to the Sheriffs department,
            FBI and IRS as funds stolen from the non profit organization.” (Dkt. No.
            819-6.) Taitz also wrote that Ostella was “fraudulently sending e-mails to
            . . . readers using DefendOurFreedoms name” and Taitz instructed her
            followers to “demand that she immediately stop this practice.” (Id.) Taitz
            wrote that she had “closed her pay pal account and did not receive any pay
            pal or visa donation since 04.11.09.” (Id.)

            7. April 23, 2009: In a comment on her blog, Taitz wrote, “unfortunately
            Defend our freedoms site was hijacked. . . . The old site was hijacked by
            my former web master Lisa Ostella, who is shamelessly using the name of
            the foundation without my consent and pocketing the donations.” (Dkt.
            No. 819-7.)

            8. April 23, 2009: In a post titled “Lisa Ostella Internet Fraud in North
            Brunswick, NJ,” Taitz posted an email from a third-party to the “Director
            of Consumer Affairs and the FBI for New Jersey” where the follower
            wrote, “I need to alert you to the fact that Lisa Ostella has defrauded Dr.
            Orly Taitz and has hijacked her website.” (Dkt. No. 819-8.)

            9. May 19, 2009: In a post titled “NJ Police,” Taitz wrote, “As you know
            my previous site, Defend Our Freedoms was taken over by the web master
            Lisa Ostella. For over a month now Lisa Ostella had no affiliation with
            Defend Our Freedoms Foundation, however she has been sending e-mails

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            from Defend Our Freedoms and collecting donations. If you are a donor
            and received such solicitations or have given a donation believing that it
            went to Defend Our Freedoms Foundation, you were defrauded, since
            such donations from at least April 11 or possibly earlier date went to the
            pocket of Lisa Ostella and benefitted the household of Lisa and Frnak (sic)
            (Mario) Ostella. If you received such solicitation or have given a donation
            please contact North Brunswick New Jersey Police . . . and file a criminal
            comlaint.” (Dkt. No. 819-9.) In the comments to this post, Taitz reiterated
            these statements. (Id.)

            10. January 29, 2010: In a post titled “I need your help,” Taitz wrote that
            she needed her followers’ help “in sending me affidavits and screenshots of
            any solicitation e-mails or notices of solicitation of donations for DOFF
            (defend our freedoms foundation) done by my former web master Lisa
            Ostella after 04.11.09, the date when she locked me out of my former
            foundation web site.” (Dkt. No. 819-10.)

            11. March 3, 2011: In a post titled “Who are these people in Germany,
            threatening me?” Taitz wrote, that she had reported to the police and FBI
            that her “volunteer web master Lisa Ostella locked me out of my prior web
            site for my foundation, that donations to my foundation were diverted,
            that there was tampering with my car. I am yet to see anything done by
            police departments in CA, NM, NJ or PA. (Dkt. No. 819-11.)

   Yes, the facts of this case go back at least to 2009 posts. Ostella contends that all these
   statements are lies. After almost a decade of litigation, the following four claims remain: (1)
   invasion of privacy (false light publicity); (2) invasion of privacy (appropriation of name);
   (3) cyber-harassment; and (4) libel per se.

   2. JURISDICTION

   Taitz argues that this Court doesn’t have jurisdiction to decide this case because “two

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   Plaintiffs (Ostella and Go Excel Global) and two Defendants (James Sundquist and Rock
   Salt Publishing) were citizens of New Jersey when this case was filed.” (Opp’n, Dkt. No. 34
   at 12.) Taitz made this exact same argument two years ago. (See Dkt. No. 688 at 6.) The
   Court rejected that argument then, and Taitz hasn’t provided any convincing reason to
   revisit that decision now. (Dkt. No. 744.)

   3. PRELIMINARY ISSUES

   The parties made numerous evidentiary objections. On a motion for summary judgment,
   parties must cite specific evidence to assert that a fact cannot be or is genuinely disputed.
   Fed. R. Civ. P. 56(c)(1). When the parties file numerous objections on a summary judgment
   motion, it’s “often unnecessary and impractical for a court to methodically scrutinize each
   objection and give a full analysis of each argument raised.” See Doe v. Starbucks, Inc., No.
   SACV 08-00582 AG (CWx), 2009 WL 5183773, at *1 (C.D. Cal. Dec 18, 2009). The Court
   declines to rule individually on the parties’ many objections, and relied only on appropriate
   evidence in this order.

   Summary judgment is appropriate where the record, read in the light most favorable to the
   non-moving party, shows that “there is no genuine issue as to any material fact and . . . the
   moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(a); see Celotex
   Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). Material facts are those necessary to the proof
   or defense of a claim, as determined by reference to substantive law. Anderson v. Liberty
   Lobby, Inc., 477 U.S. 242, 248 (1986). A factual issue is genuine “if the evidence is such that
   a reasonable jury could return a verdict for the nonmoving party,” based on the issue. See
   id. In deciding a motion for summary judgment, “[t]he evidence of the nonmovant is to be
   believed, and all justifiable inferences are to be drawn in his favor.” Id. at 255. But if the
   evidence of the nonmoving party “is merely colorable, or is not significantly probative,
   summary judgment may be granted.” Id. at 249–50.




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   4. ANALYSIS

            4.1   Libel Per Se

   As Ostella puts it, the “primary question” for her libel claim is whether “Taitz’s statements
   that Ostella took funds, diverted, or committed fraud in 11 posts is libel on its face.” (Mot., Dkt.
   No. 818-1 at 10.) Under California Civil Code section 45a, the section which governs libel
   per se, a plaintiff prevails only “if the publication is (1) libelous on its face, or (2) if special
   damages have been proven.” Downing v. Abercrombie & Fitch, 265 F.3d 994, 1010 (9th Cir.
   2001). Ostella argues that Taitz’s statements are libelous on their face because they accuse
   Ostella of criminal conduct. (Mot., Dkt. No. 818-1 at 10.)

   In this case, the Ninth Circuit has concluded that Taitz’s “speech at issue concerns matters
   of public importance.” (Dkt. No. 676 at 5.) Consequently, Taitz argues that Ostella must
   show that the blog posts were made with malice. And Ostella doesn’t contest that
   argument. (See Opp’n, Dkt. No. 832 at 12; Reply, Dkt. No. 838 at 19.) Indeed, there is
   some support for Taitz’s argument. “[I]f a plaintiff in a defamation case involving a matter
   of public concern seeks presumed damages because the statements are libelous per se,” as
   Ostella does here, the plaintiff “must prove actual malice, i.e., that defendant knew the
   complained-of speech was false or acted with reckless disregard of whether it was false.”
   ZL Techs., Inc. v. Does 1-7, 13 Cal. App. 5th 603, 631 (2017). “Evidence of falsity will be
   relevant to any determination of malice.” Id. at 632 (internal citations omitted).

   Throughout her papers, Ostella has failed to provide convincing evidence that the
   statements were false or that Taitz knew the statements were false when made. To be sure,
   the confusing evidence submitted by both sides makes it nearly impossible to tell what
   actually happened—it’s possible that Taitz’s statements were totally false. Indeed, Taitz’s
   own evidence on this point is fairly weak. But Ostella concedes that it’s her burden to
   prove malice and falsity in this context. To carry that burden, Ostella must rely on
   “significantly probative” evidence that is more than “merely colorable.” Anderson, 477 U.S.
   at 249–50 (internal citations omitted). Ostella hasn’t done that, even viewing the facts (as
   much as the Court can now discern them) in a light most favorable to her.

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   For these and other reasons, summary judgment in Taitz’s favor on Ostella’s libel per se
   claim is appropriate.

            4.2   Invasion of Privacy (False Light Publicity and Appropriation of
                  Name)

   To prevail on a false light publicity claim, a plaintiff must show that the defendant
   (1) disclosed to one or more persons information about the plaintiff that was presented as
   factual but was actually false or created a false impression about the plaintiff; (2) the
   information was understood by one or more persons to whom it was disclosed as stating
   something highly offensive that would have a tendency to injure the plaintiff’s reputation;
   (3) by clear and convincing evidence, the defendant acted with constitutional malice; and
   (4) the plaintiff was damaged by the disclosure. Solano v. Playgirl, Inc., 292 F.3d 1078, 1082
   (9th Cir. 2002). As Ostella describes the test for appropriation of a person’s name, knowing
   use of a person’s name for commercial purposes without another’s consent leads to liability
   for damages. Ostella explicitly relies on California’s statutory version of name
   appropriation. (Mot., Dkt. No. 818-1 at 15, n.28.)

   Ostella hasn’t provided evidence sufficient to support either privacy claim. While it’s
   undisputed that Taitz did use Ostella’s name without consent, Ostella hasn’t convincingly
   shown that the claims were false or that Taitz acted with malice, as discussed. Also,
   Ostella’s evidence of damages consists almost entirely of her own conclusory declaration,
   which is difficult to rely on as the sole source for her $15,000,000 damages claim. (Dkt. No.
   810 at ¶¶ 10, 55, 37, 60.) While Ostella argues the use of her name was for a “commercial
   purpose” because it was on Taitz’s blog where Taitz solicits donations and posts paid ads,
   this isn’t a sufficiently “direct connection between the alleged use and the commercial
   purpose.” Downing v. Abercrombie & Fitch, 265 F.3d 994, 1001 (9th Cir. 2001); see also Cal.
   Civ. Code § 3344(a) (use of name must be “for purposes of advertising or selling, or
   soliciting purchases of, products, merchandise, goods or services”). Further, Ostella’s
   privacy claims are likely barred by the Ninth Circuit’s explicitly finding that Taitz’s posts
   concerned matters of public interest, particularly since Ostella hasn’t shown that the

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   statements were false. See Downing, 265 F.3d at 1002–03; Solano, 292 F.3d at 1098.

   Summary judgment on Ostella’s invasion of privacy claims is appropriate.

            4.3   Cyber-Harassment

   Ostella contends that “Taitz has cyber harassed her . . . through Taitz’s 11 posts and
   published law enforcement reports, that accused Ostella of diverting funds, of committing
   fraud, and of hijacking the blog.” (Mot., Dkt. No. 818-1 at 15.) Under California Civil
   Procedure Code section 527.6(b), harassment is defined as:

                  unlawful violance, a credible threat of violence, or a knowing
                  and willful course of conduct directed at a specific person that
                  seriously alarms, annoys, or harasses the person, and that serves
                  no legitimate purpose. The course of conduct must be that
                  which would cause a reasonable person to suffer substantial
                  emotional distress, and must actually cause substantial emotional
                  distress to the petitioner.

   To receive the injunctive relief provided by California’s anti-harassment statute, Ostella
   must prove that she is the victim of ongoing harassment by clear and convincing evidence.
   Cal. Civ. Proc. Code § 527.6(i).

   Here, Ostella fails to provide evidence sufficient to support her harassment claim.
   Importantly, Ostella hasn’t shown that Taitz’s online posts caused Ostella “substantial
   emotional distress.” The lone evidence of Ostella’s emotional distress is her own
   declaration that says has been “embarrassed, humiliated, and [has] felt continuously
   criminalized by Taitz’s online criminal accusations.” (Dkt. No. 819 at ¶ 37.) Without more,
   this isn’t enough under the California harassment statute’s high burden of proof. Moreover,
   this doesn’t appear to be the kind of conduct covered by the harassment statute,
   particularly since Taitz’s allegedly harassing posts were all made many years ago. See Russell
   v. Douvan, 112 Cal. App. 4th 399, 402 (2003) (requiring course of conduct to justify

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injunctive relief). The Court takes seriously Taitz’s declaration that she will not post about
Ostella moving forward.

For these and other reasons, summary judgment in Taitz’s favor on Ostella’s harassment
claim is appropriate.

         4.4   Sanctions

Ostella argues that the Court should sanction Taitz under the Federal Rules of Civil
Procedure for failing to turn over discovery. Ostella also argues that the Court should
sanction Taitz under 28 U.S.C. § 1927 for “unreasonably and vexatiously” multiplying these
proceedings. Under both standards, the Court has discretion to determine whether
sanctions are appropriate. See Ollier v. Sweetwater Union High Sch. Dist., 768 F.3d 843, 859 (9th
Cir. 2014) (explaining that the Court has “wide latitude” in awarding Rule 37 sanctions);
Chambers v. NASCO, Inc., 501 U.S. 32, 46–48 (1991).

Although Taitz’s conduct throughout this case has been very concerning, as the Court has
noted numerous times, the Court can’t conclude that sanctions are warranted. This is
particularly true because Ostella’s own conduct throughout this case has also been very
concerning. Moreover, it’s unclear why Ostella has waited until this late date to make
discovery-related arguments. For these and other reasons, the Court declines to award
sanctions to any party.

5. LISA LIBERI LETTER

Lisa Liberi sent the Court a letter consistent with the prefiling restriction in this case. Liberi
asks the Court to enforce the settlement agreement between her and Taitz, which
ultimately led to the dismissal of Liberi’s claims against Taitz and others with prejudice.
Liberi asserts that Taitz violated their settlement agreement in various ways, mostly by
filing an 84-page counter-complaint against various parties. Liberi asks that she be allowed
to file a new, 34-page complaint seeking over $30,000,000 in relief.


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No. Liberi settled her claims against Taitz and others and dismissed those claims with
prejudice. The proposed complaint improperly resurrects many of those claims for no
good reason, and even raises wholly new issues that aren’t appropriately part of this years-
old litigation. Moreover, Liberi’s concerns about Taitz’s counterclaims are moot, because
the Court previously struck those counterclaims. (Dkt. No. 774.) For these and other
reasons, the Court DENIES Liber’s request to file a complaint.

6. CONCLUSION

The Court has thoroughly reviewed the six briefs and mountains of evidence submitted by
the parties in reaching the conclusions of this order. Any arguments not addressed in this
order were either unpersuasive or unnecessary for the Court to consider.

The Court DENIES Ostella’s motion for summary judgment. (Dkt. No. 818.) The Court
GRANTS Taitz’s motion for summary judgment. (Dkt. No. 826.) Though the parties may
feel impelled to ask, the Court will not award any attorney fees to either side, because such
an award would not be at all appropriate under the circumstances.

Thus this case, largely fueled by political passions of the past, comes to an end. The Court
hopes the parties will move on to more productive activities. The Court will enter a
simple judgment.


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